 Case 2:19-cv-03611-RSWL-JPR Document 25 Filed 09/29/21 Page 1 of 1 Page ID #:1727



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 9                        UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA

11
     NOAH AKUNA,                      ) Case No. CV 19-3611-RSWL (JPR)
12                                    )
                        Petitioner,   )
13                                    ) ORDER ACCEPTING FINDINGS AND
                   v.                 ) RECOMMENDATIONS OF U.S.
14                                    ) MAGISTRATE JUDGE
     CHRISTIAN PFEIFFER, Warden,      )
15                                    )
                        Respondent.   )
16                                    )
17       The Court has reviewed the Petition, records on file, and
18 Report and Recommendation of U.S. Magistrate Judge. No
19 objections to the R. & R. have been filed.
20      The Court accepts the findings and recommendations of the
21 Magistrate Judge. IT THEREFORE IS ORDERED that the Petition is
22 denied and Judgment be entered dismissing this action.
23
24 DATED: September 29, 2021           /S/RONALD S.W. LEW
25                                    RONALD S.W. LEW
                                      U.S. DISTRICT JUDGE
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